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                              IN THE UNITED STATES BANKRUPTCY
                             COURT FOR THE SOUTHERN DISTRICT OF
                                   TEXAS HOUSTON DIVISION

                                                              )
    In re:                                                    )   Chapter 11
                                                              )
    EXCO RESOURCES, INC., et al.,1                            )   Case No. 18-30155
                                                              )
                               Debtors.                       )   (Jointly Administered)
                                                              )
                                                              )   Ref. Docket No. 187, 188, 191-198, and 205
                                                              )



                         NOTICE OF FILING OF AFFIDAVITS OF SERVICE



             PLEASE TAKE NOTICE that during the period January 26, 2018 to January 31, 2018

Epiq Bankruptcy Solutions, LLC in its role as noticing agent for the above-captioned debtors and

debtors in possession caused to be served certain documents. Epiq Bankruptcy Solutions, LLC

hereby files the affidavits of service associated with each service annexed hereto and as

summarized below.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: EXCO Resources, Inc. (2779); EXCO GP Partners Old, LP (1262); EXCO Holding (PA), Inc.
(1745); EXCO Holding MLP, Inc. (1972); EXCO Land Company, LLC (9981); EXCO Midcontinent MLP, LLC
(0557); EXCO Operating Company, LP (1261); EXCO Partners GP, LLC (1258); EXCO Partners OLP GP, LLC
(1252); EXCO Production Company (PA), LLC (7701); EXCO Production Company (WV), LLC (7851); EXCO
Resources (XA), LLC (7775); EXCO Services, Inc. (2747); Raider Marketing GP, LLC (6366); and Raider
Marketing, LP (4295). The location of the Debtors' service address is: 12377 Merit Drive, Suite 1700, Dallas, Texas
75251.

T:\Clients\EXCO\Affidavits\Notice of Filing Affidavits\ERI_NOTICE_OF_AFFIDAVIT_DI 187, 188, 191-198, 205.docx
        Case 18-30155 Document 217 Filed in TXSB on 02/01/18 Page 2 of 23




 Affidavit of Service                   Related Docket Numbers or   Service Date(s)     Annexed
                                        Description                                     Exhibit

 Affidavit of Konstantina Haidopoulos       187, 188 and 191-198     January 26, 2018        1

 Affidavit of Forrest Kuffer                        205              January 30, 2018        2




Dated: February 1, 2018

EPIQ BANKRUPTCY SOLUTIONS, LLC
777 Third Avenue, 12th Floor
New York, New York 10017
Telephone: 646-282-2400
Facsimile: 646-282-2501




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                         EXHIBIT 1
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                            IN THE UNITED STATES BANKRUPTCY
                           COURT FOR THE SOUTHERN DISTRICT OF
                                 TEXAS HOUSTON DIVISION

                                                         )
    In re:                                               )   Chapter 11
                                                         )
    EXCO RESOURCES, INC., et al.,1                       )   Case No. 18-30155
                                                         )
                            Debtors.                     )   (Jointly Administered)
                                                         )
                                                         )   Ref. Docket Nos. 187, 188 and 191-198
                                                         )

                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

KONSTANTINA HAIDOPOULOS, being duly sworn, deposes and says:

1. I am employed as a Senior Noticing Coordinator by Epiq Bankruptcy Solutions, LLC,
   located at 777 Third Avenue, New York, New York 10017. I am over the age of eighteen
   years and am not a party to the above-captioned action.

2. On January 26, 2018, I caused to be served the:

      a. “Debtors’ Motion for Entry of an Order (I) Authorizing and Approving the Debtors’ Key
         Employee Retention Plan for Non-Insider Employees and (II) Granting Related Relief,”
         dated January 26, 2018 [Docket No. 187], (the “KERP Motion”),

      b. “Debtors’ Motion for Entry of an Order Authorizing the Retention and Compensation of
         Certain Professionals Utilized in the Ordinary Course of Business,” dated January 26,
         2018 [Docket No. 188], (the “OCP Motion”),




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: EXCO Resources, Inc. (2779); EXCO GP Partners Old, LP (1262); EXCO Holding (PA), Inc.
(1745); EXCO Holding MLP, Inc. (1972); EXCO Land Company, LLC (9981); EXCO Midcontinent MLP, LLC
(0557); EXCO Operating Company, LP (1261); EXCO Partners GP, LLC (1258); EXCO Partners OLP GP, LLC
(1252); EXCO Production Company (PA), LLC (7701); EXCO Production Company (WV), LLC (7851); EXCO
Resources (XA), LLC (7775); EXCO Services, Inc. (2747); Raider Marketing GP, LLC (6366); and Raider
Marketing, LP (4295). The location of the Debtors' service address is: 12377 Merit Drive, Suite 1700, Dallas, Texas
75251.
   Case 18-30155 Document 217 Filed in TXSB on 02/01/18 Page 5 of 23




c. “Debtors’ Motion for Entry of an Order (I) Authorizing and Approving the Settlement by
   and Among Debtors EXCO Holding (PA), Inc., EXCO Production Company (PA), LLC,
   and EXCO Production Company (WV), LLC, and Non-Debtor Affiliates EXCO
   Resources (PA), LLC and EXCO Appalachia Midstream, LLC, and BG Production
   Company (PA), LLC, BG Production Company (WV), LLC, and SWEPI LP, and (II)
   Granting Related Relief,” dated January 26, 2018 [Docket No. 191], (the “Shell
   Motion”),

d. “Debtors’ Motion for Entry of an Order Establishing Procedures for Interim
   Compensation and Reimbursement of Expenses for Professionals,” dated January 26,
   2018 [Docket No. 192], (the “Interim Compensation Motion”),

e. “Debtors’ Application for Entry of an Order Authorizing the Retention and Employment
   of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the
   Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date,” dated
   January 26, 2018 [Docket No. 193], (the “K&E Application”),

f. “Debtors’ Application to Employ and Retain Alvarez & Marsal North America, LLC as
   Restructuring Advisors to Debtors and Debtors in Possession Pursuant to Sections 327(a)
   and 328 of the Bankruptcy Code,” dated January 26, 2018 [Docket No. 194], (the “A&M
   Application”),

g. “Debtors’ Application for Entry of an Order Authorizing the Retention and Employment
   of KPMG LLP to Provide Audit and Tax Consulting Services Nunc Pro Tunc to the
   Petition Date,” dated January 26, 2018 [Docket No. 195], (the “KPMG Application”),

h. “Debtors’ Application for Entry of an Order Authorizing the Retention and Employment
   of Latham & Watkins LLP as Special Counsel Effective Nunc Pro Tunc to the Petition
   Date,” dated January 26, 2018 [Docket No. 196], (the “Latham Application”),

i. “Debtors’ Application for Entry of an Order (I) Authorizing the Employment and
   Retention of PJT Partners LP as Investment Banker for the Debtors and Debtors in
   Possession, Effective Nunc Pro Tunc to the Petition Date and (II) Granting Related
   Relief,” dated January 26, 2018 [Docket No. 197], (the “PJT Application”), and

j. “Debtors’ Application for Entry of an Order Authorizing the Retention and Employment
   of Morgan, Lewis & Bockius LLP as Special Litigation Counsel for the Debtors and
   Debtors in Possession Nunc Pro Tunc to January 15, 2018,” dated January 26, 2018
   [Docket No. 198], (the “Morgan Application”),




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   by causing true and correct copies of the:

      i.   KERP Motion, OCP Motion, Shell Motion, Interim Compensation Motion, K&E
           Application, PJT Application, A&M Application, Latham Application, KPMG
           Application and Morgan Application, to be enclosed securely in separate postage pre-
           paid envelopes and delivered via first class mail to those parties listed on the annexed
           Exhibit A,

     ii.   KERP Motion, OCP Motion, Shell Motion, Interim Compensation Motion, K&E
           Application, PJT Application, A&M Application, Latham Application, KPMG
           Application and Morgan Application, to be delivered via electronic mail to those
           parties listed on the annexed Exhibit B,

    iii.   OCP Motion, to be enclosed securely in separate postage pre-paid envelopes and
           delivered via first class mail to those parties listed on the annexed Exhibit C, and

    iv.    Shell Motion, to be enclosed securely in a postage pre-paid envelope and delivered
           via first class mail to the following party: Omar J. Alaniz, Ian E. Roberts, Baker Botts
           L.L.P., 2001 Ross Avenue, Dallas, TX 75201.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                     /s/ Konstantina Haidopoulos
                                                                     Konstantina Haidopoulos
 Sworn to before me this
 30th day of January, 2018
 /s/ Panagiota Manatakis
 Notary Public, State of New York
 No. 01MA6221096
 Qualified in Queens County
 Commission Expires April 26, 2018




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                        EXHIBIT A
                                                EXCO Resources, Inc.
                     Case 18-30155 Document 217Service
                                                 Filed List
                                                       in TXSB on 02/01/18 Page 8 of 23

Claim Name                               Address Information
AZURE ETG LLC                            ATTN: I. J. BERTHELOT, II, PRESIDENT 12377 MERIT DRIVE SUITE 300 DALLAS TX
                                         75251
BAKER HUGHES BUSINESS SUPPORT SVS        ATTN: MARTIN S. CRAIGHEAD CHAIRMAN & CEO 17021 ALDINE WESTFIELD HOUSTON TX
                                         77073
BHP BILLITON PETROLEUM PROPERTIES LP     ATTN: ANDREW MACKENZIE, CEO 1100 LOUISIANA SUITE 400 HOUSTON TX 77002
BJ SERVICES COMPANY USA                  ATTN: JIM COLLINS, VP 11211 FM 2920 RD TOMBALL TX 77375
BONDS ELLIS EPPICH SCHAFER JONES LLP     ATTN: CLAY M. TAYLOR (COUNSEL TO OOGC AMERICA LLC) 420 THROCKMORTON STREET,
                                         SUITE 1000 FORT WORTH TX 76102
BONDS ELLIS EPPICH SCHAFER JONES LLP     ATTN: JOSHUA N. EPPICH (COUNSEL TO OOGC AMERICA LLC) 420 THROCKMORTON STREET,
                                         SUITE 1000 FORT WORTH TX 76102
BP AMERICA PRODUCTION CO                 ATTN: JOHN MINGE, PRESIDENT 501 WESTLAKE PARK BLVD HOUSTON TX 77079
CHESAPEAKE ENERGY MARKETING LLC          ATTN: ROBERT D. LAWLER, PRESIDENT & CEO 6100 NORTH WESTERN AVE OKLAHOMA CITY
                                         OK 73118
CHESAPEAKE OPERATING INC                 ATTN: ROBERT D. LAWLER, PRESIDENT & CEO 6100 NORTH WESTERN AVE OKLAHOMA CITY
                                         OK 73118
COGENT ENERGY SERVICES LLC               ATTN: CHET ERWIN, PRESIDENT & CEO 919 MILAM ST, STE 2480 HOUSTON TX 77002
CURTIS OILFIELD SERVICES LLC             ATTN: BUFORD E. CURTIS, MANAGER P.O. BOX 1236 SILSBEE TX 77656
DOWNHOLE TECHNOLOGY LLC                  ATTN: DUKE VANLUE, CEO 7123 BREEN DRIVE HOUSTON TX 77086
ENTERPRISE PRODUCTS OPERATING LLC        ATTN: O.S. ANDRAS, CEO 1100 LOUISIANA ST 10TH FLOOR HOUSTON TX 77002
FLUID DISPOSAL SPECIALTIES INC           ATTN: MIKE HAYS, PRESIDENT 209 SAM BAIRD ROAD HOMER LA 71040-2019
FTS INTERNATIONAL SERVICES LLC           ATTN: MICHAEL J. DOSS, CEO 777 MAIN STREET, STE 3000 FORT WORTH TX 76102
GE OIL & GAS PRESSURE CONTROL LP         ATTN: LORENZO SIMONELLI, CHAIRMAN, PRES. & CEO 3960 COMMERCE ST SW CANTON OH
                                         44706
GOODRICH PETROLEUM CO LLC                ATTN: ROBERT C. TURNHAM, JR., PRES & CEO 801 LOUISIANA, STE 700 HOUSTON TX
                                         77002
GULF COAST TMC LLC                       ATTN: CHARLES E. WEAVER III, MEMBER 7670 HWY 10 ETHEL LA 70730
HECKMANN WATER RESOURCES CVR INC         ATTN: MARK D. JOHNSRUD, CEO C/O NUVERRA ENVIRONMENTAL SOLUTIONS 14624 N.
                                         SCOTTSDALE ROAD, SUITE 300 SCOTTSDALE AZ 85254
INDIGO MINERALS LLC                      ATTN: FRANK D. TSURU, PRESIDENT & CEO 600 TRAVIS, STE 5500 HOUSTON TX 77002
INTERNAL REVENUE SERVICE                 P.O. BOX 7346 PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICE                 77 K ST NE WASHINGTON DC 20002
INTERNAL REVENUE SERVICE LOCAL OFFICE    1100 COMMERCE ST. ROOM 121 DALLAS TX 75242
KINDERHAWK FIELD SERVICES LLC            ATTN: STEVEN J. KEAN, PRESIDENT & CEO 1001 LOUISIANA, STE 1000 HOUSTON TX
                                         77002
LEAM DRILLING SYSTEMS, LLC               ATTN: DANNY CHILDERS, PRESIDENT 3114 WEST OLD SPANISH TRAIL NEW IBERIA LA
                                         70560
LIGHT TOWER RENTALS                      2330 EAST INTERSTATE 20 SOUTH SERVICE ROAD ODESSA TX 79766
LONG PETROLEUM LLC                       ATTN: DENMAN M. LONG, CHAIRMAN 400 TEXAS ST. #800 SHREVEPORT LA 71101
LOUISIANA MIDSTREAM GAS SERVICES LLC     ATTN: J. MICHAEL STICE, CEO 6100 NORTH WESTERN AVE PO BOX 18496 OKLAHOMA CITY
                                         OK 73154-0496
M6 ENERGY SERVICES LLC                   ATTN: RICHARD LEE JR, MANAGING MEMBER 3304 E GOFORTH RD KILGORE TX 75662
MAGNOLIA MIDSTREAM GAS SERVICES LLC      ATTN: J. MICHAEL STICE, CEO 900 NORTH WEST 63RD ST OKLAHOMA CITY OK 73154-0355
MCCREARY, VESELKA, BRAGG & ALLEN, P.C.   ATTN: LEE GORDON P.O. BOX 1269 ROUND ROCK TX 78680
NABORS DRILLING TECHNOLOGIES USA INC     ATTN: ANTHONY G. PETRELLO, PRES. & CEO 515 WEST GREENS RD STE 1200 HOUSTON TX
                                         77067
OIL STATES ENERGY SERVICES LLC           ATTN: CINDY B. TAYLOR, PRESIDENT & CEO THREE ALLEN CENTER 333 CLAY ST, STE
                                         4620 HOUSTON TX 77002
OOGC AMERICA LLC (EAGLE FORD)            ATTN: QING JIANG, PRESIDENT 945 BUNKER HILL RD #1000 HOUSTON TX 77024
PARADIGM MIDSTREAM SERVICES-ST LLC       ATTN: JOHN STEEN, CEO 545 E. JOHN CARPENTER FREEWAY SUITE 800 IRVING TX 75062
PATTERSON UTI DRILLING COMPANY LLC       ATTN: WILLIAM A. (ANDY) HENDRICKS PRES. & CEO, 10713 W. SAM HOUSTON PKWY N
                                         SUITE 800 HOUSTON TX 77064



EPIQ BANKRUPTCY SOLUTIONS, LLC                                                                               Page 1 OF 2
                                                EXCO Resources, Inc.
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                                               Filed List
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Claim Name                               Address Information
PEROXYCHEM LLC                           ATTN: BRUCE LERNER, PRESIDENT & CEO ONE COMMERCE SQUARE 2005 MARKET STREET,
                                         SUITE 3200 PHILADELPHIA PA 19103
REGENCY GAS SERVICES LP                  ATTN: KELCY L. WARREN, CEO 8111 WESTCHESTER DRIVE DALLAS TX 75225
S3 PUMP SERVICE                          ATTN: MALCOLM H. SNEED III, PRESIDENT 1918 BARTON DR SHREVEPORT LA 71107
SELECT ENERGY SERVICES LLC               ATTN: HOLLI LADHANI, PRESIDENT & CEO 515 POST OAK BLVD, STE 200 HOUSTON TX
                                         77027
SKY-LIN                                  ATTN: LINDA WILLIAMS, MANAGING MEMBER 6911 VARDAMAN RD KEITHVILLE LA 71047
STALLION OILFIELD SERVICES               ATTN: DAVID C. MANNON, PRESIDENT & CEO 950 CORBINDALE, STE 400 HOUSTON TX
                                         77024
STATE OF PENNSYLVANIA ATTORNEY GENERAL   ATTN: JOSH SHAPIRO 16TH FL, STRAWBERRY SQ HARRISBURG PA 17120
STATE OF TEXAS ATTORNEY GENERAL          ATTN: KEN PAXTON P.O. BOX 12548 AUSTIN TX 78711-2548
STATE OF WEST VIRGINIA ATTORNEY GENERAL ATTN: PATRICK MORRISEY STATE CAPITOL COMPLEX BLDG 1, ROOM E-26 CHARLESTON WV
                                        25305
SUN COAST RESOURCES INC                  ATTN: KATHY LEHNE, CEO 6405 CAVALCADE ST., BLDG 1 HOUSTON TX 77026
THOMAS OILFIELD SERVICES LLC             ATTN: GREG PEELER, PRESIDENT 4250 SE LOOP 281 LONGVIEW TX 75602
WEATHERFORD U.S., L.P.                   ATTN: KARL BLANCHARD, EVP & COO 2000 SAINT JAMES PLACE HOUSTON TX 77056
WHITE & CASE LLP                         ATTN: THOMAS E LAURIA & MICHAEL C. SHEPHERD (COUNSEL TO GEN IV INVESTMENT
                                         OPPORTUNITIES LLC) SOUTHEAST FINANCIAL CENTER 200 SOUTH BISCAYNE BLVD., SUITE
                                         4900 MIAMI FL 33131
WILMINGTON SAVINGS FUND SOCIETY, FSB     ATTN: PATRICK J. HEALY 500 DELAWARE AVENUE, 11TH FLOOR P.O. BOX 957 WILMINGTON
                                         DE 19899




                                  Total Creditor count 50




EPIQ BANKRUPTCY SOLUTIONS, LLC                                                                               Page 2 OF 2
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                         EXHIBIT B
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                EXCO RESOURCES, INC., et al. – Case No. 18-30155
                       Electronic Mail Master Service List

admininfo@ag.state.la.us                 lauri.mcdonald@nabors.com
aglenn@kasowitz.com                      lfuller@bakerlaw.com
alfredo.perez@weil.com                   lotempio@sewkis.com
amymize@southernsoilenv.com              louis.strubeck@nortonrosefulbright.com
april.yebd@jpmorgan.com                  mark.taylor@wallerlaw.com
ashiff@kasowitz.com                      marksherrill@eversheds-sutherland.com
ashmead@sewkis.com                       matt@freedomoilfield.net
benjaminfinestone@quinnemanuel.com       mcarroll@westlaagg.com
bforshey@forsheyprostok.com              mcavenaugh@jw.com
bpisella@winston.com                     mccarthy.gina@epa.gov
carl@dorelawgroup.net                    mcountryman@jrl-law.com
chairmanoffice@sec.gov                   mdietzen@lindquist.com
charlie.shelton@oag.texas.gov            mfelger@cozen.com
christopher.ryan3@bhge.com               michele.jones@jpmorgan.com
cleve.burke@wallerlaw.com                mmccauley@wilmingtontrust.com
colton.s@cncoilfield.com                 mostrye@albmlaw.com
crubio@diamondmccarthy.com               mparmet@brucknerburch.com
csvs@curtisandsonco.com                  mriordan@gardere.com
dallas.bankruptcy@publicans.com          mshepherd@whitecase.com
david.bennett@tklaw.com                  omar.alaniz@bakerbotts.com
davidbaay@eversheds-sutherland.com       phealy@wsfsbank.com
dfw@sec.gov                              po@owenslawofficepc.com
dietzenm@ballardspahr.com                ptomasco@jw.com
dperry@hallestill.com                    pwp@pattiprewittlaw.com
dunn@cross-sound.com                     r3_ra@epa.gov
ekuznick@kasowitz.com                    rachel.obaldo@oag.texas.gov
eric.taube@wallerlaw.com                 richard.kincheloe@usdoj.gov
gayda@sewkis.com                         rstark@brownrudnick.com
gray.david@epa.gov                       ryan.manns@nortonrosefulbright.com
greg.curry@tklaw.com                     sanantonio.bankruptcy@publicans.com
hal.morris@oag.texas.gov                 skermen@drw.com
hector.duran.jr@usdoj.gov                slevine@brownrudnick.com
houston_bankruptcy@publicans.com         squsba@stblaw.com
ian.roberts@bakerbotts.com               sschmidt@kasowitz.com
info@msenergyservices.com                sshore@tecwell.com
jared.vitemb@ftsi.com                    ssoule@hallestill.com
jbanks@pbfcm.com                         stephen.statham@usdoj.gov
jbrookner@grayreed.com                   steve.levitt@tklaw.com
jeremy.grace@peakfishingservices.com     steve@tdjoilfieldservicesllc.com
jimsilliman@eversheds-sutherland.com     tlauria@whitecase.com
johnshaffer@quinnemanuel.com             tmorris@wilmingtontrust.com
jwalker@milmen.com                       usatxs.atty@usdoj.gov
kathleen.glasglow@leam.net               ustp.region07@usdoj.gov
kgreen@snowspencelaw.com                 zmckay@dorelawgroup.net
kmaraist@albmlaw.com
kristian.gluck@nortonrosefulbright.com
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                         EXHIBIT C
                                                EXCO Resources, Inc.
                    Case 18-30155 Document 217Service
                                                Filed in TXSB on 02/01/18 Page 13 of 23
                                                       List

Claim Name                               Address Information
BRADLEY MURCHISON KELLY & SHEA LLC       401 EDWARDS STREET 10TH FLOOR LOUISIANA TOWER SHREVEPORT LA 71101-5529
COZEN O'CONNOR                           1717 MAIN STREET SUITE 3400 DALLAS TX 75201
CTMI LLC                                 12720 HILLCREST ROAD SUITE 1010 DALLAS TX 75230
DOWNER HUGUET & WILHITE LLC              AMERICAN TOWER 401 MARKET ST STE 1250 SHREVEPORT LA 71101-3261
FREEMAN MILLS PC                         115 WEST 7TH STREET SUITE 1225 FORT WORTH TX 76102
GRANT THORNTON LLP                       1901 W MEYERS RD STE 455 OAKBROOK TERRACE IL 60181-5208
GRANT THORNTON LLP                       33911 TREASURY CENTER CHICAGO IL 60694-3900
GRANT THORNTON LLP                       1717 MAIN STREET SUITE 1800 DALLAS TX 75201-4657
HAHN LOESER AND PARKS LLC                P.O. BOX 643434 CINCINNATI OH 45264-3434
JONES WALKER LLP                         201 ST. CHARLES AVENUE 50TH FLOOR NEW ORLEANS LA 70170
JONES WALKER LLP                         ATTN: ACCTG DEPT 201 ST CHARLES AVE, 48TH FL NEW ORLEANS LA 70170-5100
JONES WALKER LLP                         201 ST. CHARLES AVENUE STE 5100 NEW ORLEANS LA 70170-5100
K&L GATES LLP                            210 SIXTH AVENUE PITTSBURGH PA 15222-2613
K.E. ANDREWS & COMPANY                   1900 DALROCK ROAD ROWLETT TX 75088
KEAN MILLER LLP                          P.O. BOX 3513 BATON ROUGE LA 70821-3513
KEANE UNCLAIMED PROPERTY                 450 7TH AVENUE, SUITE 905 NEW YORK NY 10123
KEANE UNCLAIMED PROPERTY                 640 FREEDOM BUSINESS CENTER DRIVE SUITE 600 KING OF PRUSSIA PA 19406
LISKOW & LEWIS                           701 PAYDRAS ST, STE 5000 NEW ORLEANS LA 70139
LISKOW & LEWIS                           822 HARDING STREET LAFAYETTE LA 70505
LITTLER MENDELSON                        2001 ROSS AVENUE SUITE 1500 DALLAS TX 75201
LITTLER MENDELSON                        P.O. BOX 45547 SAN FRANCISCO CA 94145
PARSONS MCENTIRE MCCLEARY & CLARK PLLC   1700 PACIFIC AVE. SUITE 4000 DALLAS TX 75201
PARSONS MCENTIRE MCCLEARY & CLARK PLLC   ONE RIVERWAY SUITE 1800 HOUSTON TX 77056
PIERCE AND O'NEILL LLP                   4203 MONTROSE BOULEVARD HOUSTON TX 77006
POWERS TAYLOR LLP                        ATTORNEYS AT LAW 8150 N CENTRAL EXPRESSWAY, STE 1575 DALLAS TX 75206
REED SMITH LLP                           P.O. BOX 360074M PITTSBURGH PA 15251-6074
SCOTT DOUGLASS & MCCONNICO LLP           ONE AMERICAN CENTER 600 CONGRESS AVENUE 15TH FLOOR AUSTIN TX 78701-2589
TOWERS WATSON DELAWARE INC               901 GLEBE ROAD ARLINGTON VA 22203
TOWERS WATSON DELAWARE INC               LOCKBOX 28025 28025 NETWORK PLACE CHICAGO IL 60673-1280
TRINITY MANAGEMENT CONSULTING, INC.      1660 LINCOLN STREET, SUITE 2100 DENVER CO 80264-2101
WEAVER AND TIDWELL LLP                   2821 WEST 7TH STREET SUITE 700 FORT WORTH TX 76107
WILSON, ROBERTSON & CORNELIUS, P.C.      P.O. BOX 7339 TYLER TX 75711-7339




                                 Total Creditor count 32




EPIQ BANKRUPTCY SOLUTIONS, LLC                                                                            Page 1 OF 1
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                         EXHIBIT 2
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                            IN THE UNITED STATES BANKRUPTCY
                           COURT FOR THE SOUTHERN DISTRICT OF
                                 TEXAS HOUSTON DIVISION

                                                         )
    In re:                                               )   Chapter 11
                                                         )
    EXCO RESOURCES, INC., et al.,1                       )   Case No. 18-30155
                                                         )
                            Debtors.                     )   (Jointly Administered)
                                                         )
                                                         )   Ref. Docket No. 205
                                                         )

                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

FORREST KUFFER, being duly sworn, deposes and says:

1. I am employed as a Noticing Coordinator by Epiq Bankruptcy Solutions, LLC, located at 777
   Third Avenue, New York, New York 10017. I am over the age of eighteen years and am not
   a party to the above-captioned action.

2. On January 30, 2018, I caused to be served the “Debtors’ Application for Order Authorizing
   Employment of Gardere Wynne Sewell LLP as Texas, Litigation, and Conflicts Counsel,”
   dated January 30, 2018 [Docket No. 205], by causing true and correct copies to be:

         i.     enclosed securely in separate postage pre-paid envelopes and delivered via first class
                mail to those parties listed on the annexed Exhibit A, and

        ii.     delivered via electronic mail to those parties listed on the annexed Exhibit B.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: EXCO Resources, Inc. (2779); EXCO GP Partners Old, LP (1262); EXCO Holding (PA), Inc.
(1745); EXCO Holding MLP, Inc. (1972); EXCO Land Company, LLC (9981); EXCO Midcontinent MLP, LLC
(0557); EXCO Operating Company, LP (1261); EXCO Partners GP, LLC (1258); EXCO Partners OLP GP, LLC
(1252); EXCO Production Company (PA), LLC (7701); EXCO Production Company (WV), LLC (7851); EXCO
Resources (XA), LLC (7775); EXCO Services, Inc. (2747); Raider Marketing GP, LLC (6366); and Raider
Marketing, LP (4295). The location of the Debtors' service address is: 12377 Merit Drive, Suite 1700, Dallas, Texas
75251.
      Case 18-30155 Document 217 Filed in TXSB on 02/01/18 Page 16 of 23




3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                  /s/ Forrest Kuffer
                                                                  Forrest Kuffer
 Sworn to before me this
 31st day of January, 2018
 /s/ Panagiota Manatakis
 Notary Public, State of New York
 No. 01MA6221096
 Qualified in Queens County
 Commission Expires April 26, 2018




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                         EXHIBIT A
                                                EXCO Resources, Inc.
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                                                    List

Claim Name                               Address Information
AZURE ETG LLC                            ATTN: I. J. BERTHELOT, II, PRESIDENT 12377 MERIT DRIVE SUITE 300 DALLAS TX
                                         75251
BAKER HUGHES BUSINESS SUPPORT SVS        ATTN: MARTIN S. CRAIGHEAD CHAIRMAN & CEO 17021 ALDINE WESTFIELD HOUSTON TX
                                         77073
BHP BILLITON PETROLEUM PROPERTIES LP     ATTN: ANDREW MACKENZIE, CEO 1100 LOUISIANA SUITE 400 HOUSTON TX 77002
BJ SERVICES COMPANY USA                  ATTN: JIM COLLINS, VP 11211 FM 2920 RD TOMBALL TX 77375
BONDS ELLIS EPPICH SCHAFER JONES LLP     ATTN: CLAY M. TAYLOR (COUNSEL TO OOGC AMERICA LLC) 420 THROCKMORTON STREET,
                                         SUITE 1000 FORT WORTH TX 76102
BONDS ELLIS EPPICH SCHAFER JONES LLP     ATTN: JOSHUA N. EPPICH (COUNSEL TO OOGC AMERICA LLC) 420 THROCKMORTON STREET,
                                         SUITE 1000 FORT WORTH TX 76102
BP AMERICA PRODUCTION CO                 ATTN: JOHN MINGE, PRESIDENT 501 WESTLAKE PARK BLVD HOUSTON TX 77079
CHESAPEAKE ENERGY MARKETING LLC          ATTN: ROBERT D. LAWLER, PRESIDENT & CEO 6100 NORTH WESTERN AVE OKLAHOMA CITY
                                         OK 73118
CHESAPEAKE OPERATING INC                 ATTN: ROBERT D. LAWLER, PRESIDENT & CEO 6100 NORTH WESTERN AVE OKLAHOMA CITY
                                         OK 73118
COGENT ENERGY SERVICES LLC               ATTN: CHET ERWIN, PRESIDENT & CEO 919 MILAM ST, STE 2480 HOUSTON TX 77002
CURTIS OILFIELD SERVICES LLC             ATTN: BUFORD E. CURTIS, MANAGER P.O. BOX 1236 SILSBEE TX 77656
DOWNHOLE TECHNOLOGY LLC                  ATTN: DUKE VANLUE, CEO 7123 BREEN DRIVE HOUSTON TX 77086
ENTERPRISE PRODUCTS OPERATING LLC        ATTN: O.S. ANDRAS, CEO 1100 LOUISIANA ST 10TH FLOOR HOUSTON TX 77002
FLUID DISPOSAL SPECIALTIES INC           ATTN: MIKE HAYS, PRESIDENT 209 SAM BAIRD ROAD HOMER LA 71040-2019
FTS INTERNATIONAL SERVICES LLC           ATTN: MICHAEL J. DOSS, CEO 777 MAIN STREET, STE 3000 FORT WORTH TX 76102
GE OIL & GAS PRESSURE CONTROL LP         ATTN: LORENZO SIMONELLI, CHAIRMAN, PRES. & CEO 3960 COMMERCE ST SW CANTON OH
                                         44706
GOODRICH PETROLEUM CO LLC                ATTN: ROBERT C. TURNHAM, JR., PRES & CEO 801 LOUISIANA, STE 700 HOUSTON TX
                                         77002
GULF COAST TMC LLC                       ATTN: CHARLES E. WEAVER III, MEMBER 7670 HWY 10 ETHEL LA 70730
HECKMANN WATER RESOURCES CVR INC         ATTN: MARK D. JOHNSRUD, CEO C/O NUVERRA ENVIRONMENTAL SOLUTIONS 14624 N.
                                         SCOTTSDALE ROAD, SUITE 300 SCOTTSDALE AZ 85254
INDIGO MINERALS LLC                      ATTN: FRANK D. TSURU, PRESIDENT & CEO 600 TRAVIS, STE 5500 HOUSTON TX 77002
INTERNAL REVENUE SERVICE                 P.O. BOX 7346 PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICE                 77 K ST NE WASHINGTON DC 20002
INTERNAL REVENUE SERVICE LOCAL OFFICE    1100 COMMERCE ST. ROOM 121 DALLAS TX 75242
KINDERHAWK FIELD SERVICES LLC            ATTN: STEVEN J. KEAN, PRESIDENT & CEO 1001 LOUISIANA, STE 1000 HOUSTON TX
                                         77002
LEAM DRILLING SYSTEMS, LLC               ATTN: DANNY CHILDERS, PRESIDENT 3114 WEST OLD SPANISH TRAIL NEW IBERIA LA
                                         70560
LIGHT TOWER RENTALS                      2330 EAST INTERSTATE 20 SOUTH SERVICE ROAD ODESSA TX 79766
LONG PETROLEUM LLC                       ATTN: DENMAN M. LONG, CHAIRMAN 400 TEXAS ST. #800 SHREVEPORT LA 71101
LOUISIANA DEPARTMENT OF JUSTICE          ATTN: CHRISTOPHER J. LENTO, ASST ATTY GENERAL PO BOX 94005 BATON ROUGE LA
                                         70804 -905
LOUISIANA MIDSTREAM GAS SERVICES LLC     ATTN: J. MICHAEL STICE, CEO 6100 NORTH WESTERN AVE PO BOX 18496 OKLAHOMA CITY
                                         OK 73154-0496
M6 ENERGY SERVICES LLC                   ATTN: RICHARD LEE JR, MANAGING MEMBER 3304 E GOFORTH RD KILGORE TX 75662
MAGNOLIA MIDSTREAM GAS SERVICES LLC      ATTN: J. MICHAEL STICE, CEO 900 NORTH WEST 63RD ST OKLAHOMA CITY OK 73154-0355
MCCREARY, VESELKA, BRAGG & ALLEN, P.C.   ATTN: LEE GORDON P.O. BOX 1269 ROUND ROCK TX 78680
NABORS DRILLING TECHNOLOGIES USA INC     ATTN: ANTHONY G. PETRELLO, PRES. & CEO 515 WEST GREENS RD STE 1200 HOUSTON TX
                                         77067
OIL STATES ENERGY SERVICES LLC           ATTN: CINDY B. TAYLOR, PRESIDENT & CEO THREE ALLEN CENTER 333 CLAY ST, STE
                                         4620 HOUSTON TX 77002
OOGC AMERICA LLC (EAGLE FORD)            ATTN: QING JIANG, PRESIDENT 945 BUNKER HILL RD #1000 HOUSTON TX 77024
PARADIGM MIDSTREAM SERVICES-ST LLC       ATTN: JOHN STEEN, CEO 545 E. JOHN CARPENTER FREEWAY SUITE 800 IRVING TX 75062



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                                                EXCO Resources, Inc.
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                                                      List

Claim Name                               Address Information
PATTERSON UTI DRILLING COMPANY LLC       ATTN: WILLIAM A. (ANDY) HENDRICKS PRES. & CEO, 10713 W. SAM HOUSTON PKWY N
                                         SUITE 800 HOUSTON TX 77064
PEROXYCHEM LLC                           ATTN: BRUCE LERNER, PRESIDENT & CEO ONE COMMERCE SQUARE 2005 MARKET STREET,
                                         SUITE 3200 PHILADELPHIA PA 19103
REGENCY GAS SERVICES LP                  ATTN: KELCY L. WARREN, CEO 8111 WESTCHESTER DRIVE DALLAS TX 75225
S3 PUMP SERVICE                          ATTN: MALCOLM H. SNEED III, PRESIDENT 1918 BARTON DR SHREVEPORT LA 71107
SELECT ENERGY SERVICES LLC               ATTN: HOLLI LADHANI, PRESIDENT & CEO 515 POST OAK BLVD, STE 200 HOUSTON TX
                                         77027
SKY-LIN                                  ATTN: LINDA WILLIAMS, MANAGING MEMBER 6911 VARDAMAN RD KEITHVILLE LA 71047
STALLION OILFIELD SERVICES               ATTN: DAVID C. MANNON, PRESIDENT & CEO 950 CORBINDALE, STE 400 HOUSTON TX
                                         77024
STATE OF PENNSYLVANIA ATTORNEY GENERAL   ATTN: JOSH SHAPIRO 16TH FL, STRAWBERRY SQ HARRISBURG PA 17120
STATE OF TEXAS ATTORNEY GENERAL          ATTN: KEN PAXTON P.O. BOX 12548 AUSTIN TX 78711-2548
STATE OF WEST VIRGINIA ATTORNEY GENERAL ATTN: PATRICK MORRISEY STATE CAPITOL COMPLEX BLDG 1, ROOM E-26 CHARLESTON WV
                                        25305
SUN COAST RESOURCES INC                  ATTN: KATHY LEHNE, CEO 6405 CAVALCADE ST., BLDG 1 HOUSTON TX 77026
THOMAS OILFIELD SERVICES LLC             ATTN: GREG PEELER, PRESIDENT 4250 SE LOOP 281 LONGVIEW TX 75602
WEATHERFORD U.S., L.P.                   ATTN: KARL BLANCHARD, EVP & COO 2000 SAINT JAMES PLACE HOUSTON TX 77056
WHITE & CASE LLP                         ATTN: THOMAS E LAURIA & MICHAEL C. SHEPHERD (COUNSEL TO GEN IV INVESTMENT
                                         OPPORTUNITIES LLC) SOUTHEAST FINANCIAL CENTER 200 SOUTH BISCAYNE BLVD., SUITE
                                         4900 MIAMI FL 33131
WILMINGTON SAVINGS FUND SOCIETY, FSB     ATTN: PATRICK J. HEALY 500 DELAWARE AVENUE, 11TH FLOOR P.O. BOX 957 WILMINGTON
                                         DE 19899




                                  Total Creditor count 51




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                             EXCO RESOURCES, INC.
                         1st Class Mail – Additional Parties

ERI DI 205 1-30-2018                                 ERI DI 205 1-30-2018

U.S. ENVIRONMENTAL PROTECTION                        REME, LLC
AGENCY                                               D/B/A LEAM DRILLING SERVICES
ATTN: GINA MCCARTHY,                                 ATTN: KATHLEEN GLASGLOW
ADMINISTRATOR                                        3114 W. OLD SPANISH TRAIL
ARIEL RIOS BUILDING                                  NEW IBERIA, IL 70560
1200 PENNSYLVANIA AVENUE, N.W.
WASHINGTON, DC 20460
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                                EXCO RESOURCES, INC.
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dunn@cross-sound.com                          mriordan@gardere.com
ekuznick@kasowitz.com                         mshepherd@whitecase.com
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                                EXCO RESOURCES, INC.
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